     Case 2:18-cv-02421-JFW-E Document 117 Filed 06/28/18 Page 1 of 7 Page ID #:2159



1     LECLAIRRYAN LLP
      Brian C. Vanderhoof, CBN 248511
2      Brian.Vanderhoof@leclairryan.com
      725 S. Figueroa Street, Ste. 350
3     Los Angeles, CA 90017
      Phone: (213) 337-3247 / Fax: (213) 624-3755
4
      WILEY REIN LLP
5     Stephen J. Obermeier (pro hac vice)
        sobermeier@wileyrein.com
6     Phone: (202) 719-7465 / Fax: (202) 719-7049
7     Matthew J. Gardner, CBN 257556
       mgardner@wileyrein.com
8     Phone: (202) 719-4108 / Fax: (202) 719-7049
9     Rebecca J. Fiebig (pro hac vice)
       rfiebig@wileyrein.com
10    Phone: (202) 719-3206 / Fax: (202) 719-7049
11    1776 K Street NW
      Washington, DC 20006
12
      Attorneys for Defendants
13    Stonington Strategies LLC and Nicolas D. Muzin
14    [Additional counsel listed on signature page]
15                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                               WESTERN DIVISION
17
       BROIDY CAPITAL MANAGEMENT LLC                   Case No. 2:18-CV-02421-JFW-E
18     and ELLIOTT BROIDY,
                                                       The Honorable John F. Walter
19
             Plaintiffs,
20                                                     JOINT STATEMENT REGARDING
             v.                                        LOCAL RULE 7-3 PRE-FILING
21
                                                       CONFERENCE ON STONINGTON
22      STATE OF QATAR, STONINGTON
        STRATEGIES LLC, NICOLAS D.                     DEFENDANTS’ INTENTION TO
23                                                     FILE MOTION TO DISMISS
        MUZIN, GLOBAL RISK ADVISORS
24      LLC, KEVIN CHALKER, DAVID                      PLAINTIFFS’ AMENDED
        MARK POWELL, MOHAMMED BIN                      COMPLAINT
25
        HAMAD BIN KHALIFA AL THANI,
26      AHMED AL-RUMAIHI, and DOES 1-10,
27                                                     Complaint Filed: March 26, 2018
             Defendants.
28                                                     Amended Complaint: May 24, 2018
     Case 2:18-cv-02421-JFW-E Document 117 Filed 06/28/18 Page 2 of 7 Page ID #:2160



1           In accordance with Section 5(b) of this Court’s Standing Order, this is the joint
2     statement of Plaintiffs Broidy Capital Management LLC and Elliott Broidy (“Plaintiffs”),
3     Defendant State of Qatar (“Qatar”), Defendants Nicolas D. Muzin and Stonington
4     Strategies (“Stonington Defendants”), and Defendants Global Risk Advisors LLC and
5     Kevin Chalker (“GRA Defendants”) regarding the parties’ pre-filing conference of counsel
6     pursuant to Local Rule 7-3.
7           The conference took place via teleconference at 12:00 p.m. Pacific Time on June 25,
8     2018. Lee S. Wolosky, Amy L. Neuhardt, Robert J. Dwyer, and Samuel Kleiner of Boies
9     Schiller Flexner LLP participated on behalf of Plaintiffs. Mitchell A. Kamin and Neema
10    T. Sahni of Covington & Burling LLP participated on behalf of Qatar. Stephen J.
11    Obermeier, Matthew J. Gardner, and Krystal B. Swendsboe participated on behalf of the
12    Stonington Defendants. David Gringer and Brendan R. McGuire of WilmerHale LLP
13    participated on behalf of the GRA Defendants. The teleconference lasted approximately
14    forty-five minutes. The parties exchanged further e-mail correspondence on June 26 and
15    27 to reach agreement on a proposed briefing schedule and pages limitations for the
16    Stonington Defendants’ Motion to Dismiss the First Amended Complaint.
17    I.    STONINGTON DEFENDANTS’ MOTION TO DISMISS
18          The Stonington Defendants informed Plaintiffs that they intend to file a Motion to
19    Dismiss the Amended Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1),
20    12(b)(2), and 12(b)(6). Specifically, the Stonington Defendants intend to move to dismiss
21    for lack of subject matter jurisdiction under Rule 12(b)(1) because the Stonington
22    Defendants are entitled to derivative sovereign immunity or immunity as diplomatic agents
23    of Qatar, as discussed in the Stonington Defendants’ pending Motion to Stay the Case or
24    in the Alternative to Stay Discovery (“Motion to Stay”). The Stonington Defendants also
25    intend to move to dismiss for lack of personal jurisdiction under Rule 12(b)(2) because the
26    Stonington Defendants are not residents of California and Plaintiffs have not pled that their
27    alleged activities were performed in or directed at the state of California, as outlined in the
28    Motion to Stay.


                                                    2
     Case 2:18-cv-02421-JFW-E Document 117 Filed 06/28/18 Page 3 of 7 Page ID #:2161



 1          In addition, the Stonington Defendants intend to move to dismiss for failure to state
 2    a claim under Rule 12(b)(6) for multiple reasons. The Stonington Defendants explained
 3    that as outlined in their Motion to Stay, all of the claims in the Amended Complaint fail
 4    because Plaintiffs do not plausibly allege that the Stonington Defendants accessed
 5    Plaintiffs’ computers, unlawfully obtained any e-mails, and/or disseminated hacked or
 6    forged e-mails to third parties. Further, the Stonington Defendants will also argue that (1)
 7    the Stonington Defendants are not violators under the Computer Fraud and Abuse Act
 8    (“CFAA”) or the California Comprehensive Computer Data Access and Fraud Act, and
 9    Plaintiffs have failed to plead a conspiracy under the CFAA, which preempts their civil
10    conspiracy claim; (2) Plaintiffs’ claims for Receipt and Possession of Stolen Property,
11    Invasion of Privacy by Intrusion Upon Seclusion, and Conversion are preempted by their
12    California Uniform Trade Secret Act (“CUTSA”) claim; (3) Plaintiff Broidy Capital
13    Management LLC is not a “facility through which an electronic communication service is
14    provided” under the Stored Communications Act (“SCA”); (4) Plaintiffs have failed to
15    state a claim under the Digital Millennium Copyright Act (“DMCA”) because use of a
16    valid username and password to access copyright material is not “circumvention” under
17    the DMCA, and Plaintiffs have failed to allege that the Stonington Defendants accessed
18    copyright material; (5) Plaintiffs have failed to allege that the Stonington Defendants
19    misappropriated material constituting “trade secrets” under CUTSA or the Defend Trade
20    Secrets Act; and (6) Plaintiffs have failed to allege any agreement by the Stonington
21    Defendants, whether express or tacit, to make out a claim of civil conspiracy.
22          Plaintiffs expressed their disagreement with these arguments, noting specifically the
23    arguments stated in Plaintiffs’ Opposition to the Stonington Defendants’ pending Motion
24    to Stay. Plaintiffs informed counsel for the Stonington Defendants that they would be
25    opposing the forthcoming motion to dismiss on all grounds noted by the Stonington
26    Defendants.
27          The remaining defendants expressed no position on the Stonington Defendants’
28    motion.


                                                   3
     Case 2:18-cv-02421-JFW-E Document 117 Filed 06/28/18 Page 4 of 7 Page ID #:2162



 1    II.   MOTION TO DISMISS BRIEFING AND HEARING SCHEDULE
 2          In order to avoid filing multiple motions to dismiss, the Stonington Defendants
 3    requested Plaintiffs’ consent to extend the page limitations for their Memorandum in
 4    Support of their Motion to Dismiss the Amended Complaint to thirty-five pages and their
 5    Reply to eighteen pages. Plaintiffs agreed, but asked for thirty-five pages for their
 6    Opposition.
 7          Also, to reduce the number of hearings, the Stonington Defendants requested
 8    Plaintiffs’ consent to notice their Motion to Dismiss the Amended Complaint for hearing
 9    twenty-eight days after filing the motion, to the extent they file their Motion to Dismiss
10    the Amended Complaint by July 9, 2018. In that event, the agreed-upon hearing date would
11    be August 6, 2018, complying with Plaintiffs’ preference regarding counsel’s travel
12    schedule, see Joint Statement at 3, Dkt. 109, and allowing the Stonington Defendants’
13    motion to be heard on the same day that Qatar intends to have its hearing on its motion to
14    dismiss and the Scheduling Conference. See Notice of Motion at 1 n.1, Dkt. 112. Plaintiffs
15    stated that they agreed to this schedule, provided that they would be granted fourteen days
16    to file their opposition to the Stonington Defendants’ Motion to Dismiss the Amended
17    Complaint.
18          In accordance with the parties’ agreement as to the briefing schedule and extension
19    of page limitations, the parties are filing concurrently herewith a Joint Stipulation regarding
20    the Stonington Defendants’ Motion to Dismiss the Amended Complaint, proposing the
21    schedule set forth above for the Court’s consideration and approval.
22    ///
23    ///
24

25

26

27

28


                                                    4
     Case 2:18-cv-02421-JFW-E Document 117 Filed 06/28/18 Page 5 of 7 Page ID #:2163



 1     Dated: June 28, 2018                  WILEY REIN LLP
 2                                           By: /s/ Stephen J. Obermeier
 3                                           Stephen J. Obermeier
                                             Email: sobermeier@wileyrein.com
 4                                           1776 K Street NW
 5                                           Washington, DC 20006
                                             Telephone: (202) 719-7465
 6
                                             Fax: (202) 719-7049
 7
                                             LECLAIRRYAN LLP
 8
                                             Brian C. Vanderhoof, CBN 248511
 9                                           Email: Brian.Vanderhoof@leclairryan.com
                                             725 S. Figueroa Street, Ste. 350
10
                                             Los Angeles, CA 90017
11                                           Telephone: (213) 337-3247
                                             Fax: (213) 624-3755
12

13                                            Attorneys for Defendants Nicolas D. Muzin
                                              and Stonington Strategies LLC
14

15     Dated: June 28, 2018                  BOIES SCHILLER FLEXNER LLP
16
                                             By: /s/ Lee S. Wolosky
17                                           Lee S. Wolosky
                                             Email: lwolosky@bsfllp.com
18
                                             Robert J. Dwyer
19                                           Email: rdwyer@bsfllip.com
                                             575 Lexington Ave., 7th Floor
20
                                             New York, NY 10022
21                                           Telephone: (212) 446-2300
22
                                             Fax: (212) 446-2350

23                                            Attorneys for Plaintiffs
24
       Dated: June 28, 2018
25                                           COVINGTON & BURLING LLP

26                                           By: /s/ Mitchell A. Kamin
27                                           Mitchell A. Kamin
                                             Email: mkamin@cov.com
28                                           1999 Avenue of the Stars, Suite 3500

                                               5
     Case 2:18-cv-02421-JFW-E Document 117 Filed 06/28/18 Page 6 of 7 Page ID #:2164



 1
                                             Los Angeles, CA 90067
                                             Telephone: (424) 332-4800
 2                                           Fax: (424) 332-4749
 3
                                              Attorney for Defendant State of Qatar
 4

 5     Dated: June 28, 2018                  WILMERHALE LLP
 6                                           By: /s/ Rebecca A. Girolamo
 7                                           Rebecca A. Girolamo
                                             Email: rebecca.girolamo@wilmerhale.com
 8
                                             350 South Grade Avenue Suite 2100
 9                                           Los Angeles, CA 90071
                                             Telephone: (213) 443-5343
10
                                             Fax: (213) 443-5400
11
                                              Brendan R. McGuire
12
                                              Email: brendan.mcguire@wilmerhale.com
13                                            7 World Trade Center
                                              250 Greenwich Street
14
                                              New York, NY 10007
15                                            Telephone: (212) 295-6278
                                              Fax: (212) 230-8888
16

17                                            Attorneys for Defendants Global Risk Advisors
                                              LLC and Kevin Chalker
18

19

20

21

22

23

24

25

26

27

28


                                               6
     Case 2:18-cv-02421-JFW-E Document 117 Filed 06/28/18 Page 7 of 7 Page ID #:2165



 1
                                 SIGNATURE CERTIFICATION
            Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
 2
      listed, and on whose behalf the filing is submitted, concur in the filing’s content and have
 3
      authorized this filing.
 4

 5

 6

 7   DATED: June 28, 2018                   WILEY REIN LLP
 8                                            /s/ Stephen J. Obermeier
 9                                          Stephen J. Obermeier
10                                          Attorney for Defendants Nicolas D. Muzin and
11                                          Stonington Strategies LLC
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                   7
